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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




    IN RE: U.S. OFFICE OF PERSONNEL
    MANAGEMENT DATA SECURITY
    BREACH LITIGATION
    ______________________________________            Misc. Action No. 15-1394 (ABJ)
                                                      MDL Docket No. 2664
    This Document Relates To:
    ALL CASES


          PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS ACTION
                               SETTLEMENT

         Pursuant to Federal Rule of Civil Procedure 23(e), and for the reasons set forth in the

accompanying Memorandum in Support of Plaintiffs’ Motion for Final Approval of Class Action

Settlement, Class Representatives1 Travis Arnold, Tony Bachtell, Gardell Branch, Myrna Brown,

Lilian Colon-McKnight, Paul Daly, Jon Decker (formerly John Doe III), Jane Doe, Jane Doe II,

John Doe II, Kelly Flynn, Alia Fuli, Johnny Gonzalez, Orin Griffith, Jennifer Gum, Michael

Hanagan, Deborah Hoffman, Cynthia King-Meyers, Todd Kupferer (formerly John Doe), Ryan

Lozar, Teresa J. McGarry, Charlene Oliver, Mario Sampedro, Zachary Sharper, Robert Slater,

Nancy Wheatley, and Kimberly Winsor, by and through their undersigned counsel, respectfully

move the Court to enter the following relief, in substantially the form set forth in the [Proposed]

Final Approval Order and Judgment (Exhibit 4 to the Settlement Agreement):




1
 Unless otherwise noted, all capitalized terms have the meaning ascribed to them in the Settlement
Agreement.
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              a.       Certify the Class, for settlement purposes only, pursuant to Rule 23(b)(3),

Fed. R. Civ. P.;

              b.       Appoint Class Counsel and the Class Representatives, as defined in Section

II.B.3 and II.B.4 of the Settlement Agreement, respectively, to represent the Class;

              c.       Grant final approval of the Settlement Agreement;

              d.       Find that Notice of the Settlement has been given to Class Members in

accordance with the Preliminary Approval Order and constituted the best notice practicable of the

matters set forth therein, including the Settlement, to all individuals entitled to such notice, and

satisfied the requirements of Rule 23(c)(2)(B), Fed. R. Civ. P., and of due process;

              e.       Direct the Claims Administrator to process and pay all Valid Claims in a

prompt manner according to the terms and conditions of the Settlement Agreement.;

              f.       Enter the Releases as set forth in the Settlement Agreement; and

              g.       Reserve exclusive jurisdiction over matters related to administration,

consummation, enforcement, and interpretation of the Settlement, its associated agreements, and

the Final Approval Order and Judgment.

       Pursuant to Local Civil Rule 7(f), Plaintiffs respectfully request an oral hearing on this

motion. Pursuant to Local Civil Rule 7(m), Plaintiffs’ counsel discussed this motion with

Defendants’ counsel, and Defendants consent to the relief requested herein.


 DATED: July 21, 2022                                Respectfully submitted,

                                                     GIRARD SHARP LLP

                                                     By: /s/ Daniel C. Girard

                                                     Daniel C. Girard
                                                     Jordan Elias
                                                     Simon S. Grille

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DISTRICT OF DISTRICT OF COLUMBIA LOCAL RULE 7(K) LIST OF PERSONS TO
            BE NOTIFIED OF MOTION AND [PROPOSED] ORDER

       Pursuant to D.D.C. LCvR 7(k), the following persons are entitled to be notified of entry of

the foregoing Motion and accompanying [Proposed] Order:


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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of July, 2022, I caused the foregoing Motion

for Final Approval of Class Action Settlement and related documents to be filed and served via

the Court’s CM/ECF filing system. I will also cause copies of the foregoing, including the

[Proposed] Order granting the motion, to be sent via first class mail to:

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